 

Case 1:03-cv-02§{42-JGK-HBP Document 63 Fi [12106 —P spat i~F

 

 

  
 
   
  

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UNITED STATES SECURITIES AND EXCHANGE

COMMISSION, 03 Civ. 2742 (JGK)

    
   
  
   
    
    
  
   
    
  
   

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DAVID A. ZWICK, Td
TERRENCE J. O’DO

DD J. COHEN, and
LL,

Defendants.

 

JOHN G. KOELTL, Difptrict Judge:

The Court wi hold a conference on May 26, 2006 at 11:00
a.m. to consider e parties’ correspondence on the question of
whether the defendknts should be permitted to amend the Joint
Pre-Trial Order tof include the NASD documents. In preparation
for that hearing, [-he defendants should designate and number the
specific NASD documents that they seek to add to the Joint Pre-
Trial Order and algo identify any other relevant NASD documents
that may already hive been listed. The defendants should
provide the SEC ani the Court with a set of the documents at
issue.

Trial is set fIn this case for July 10, 2006.
SO ORDERED.

Dated: New York, pw York
May 18, 206

 

ohn G. Koeltl
(Waite States District Judge

 
